          Case 3:18-cv-02097-SB           Document 54        Filed 03/24/20      Page 1 of 3




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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION

 DON NGUYEN, individually and on                       Case No. 3:18-cv-02097-SB
 behalf of others similarly situated,

                                       Plaintiff,      JOINT STIPULATION OF DISMISSAL

                 v.

 CREE, INC.,

                                    Defendant.



        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), plaintiff Don Nguyen and

defendant Cree, Inc., through their respective attorneys of record, hereby stipulate to the dismissal,

with prejudice, of this action in its entirety, with each side to bear its own costs, fees and expenses.


Page 1 - JOINT STIPULATION OF DISMISSAL
        Case 3:18-cv-02097-SB          Document 54   Filed 03/24/20   Page 2 of 3




      IT IS SO STIPULATED:

       DATED: March 23, 2020

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Page 2 - JOINT STIPULATION OF DISMISSAL
         Case 3:18-cv-02097-SB          Document 54      Filed 03/24/20     Page 3 of 3




                                          ATTESTATION

       I, the undersigned, am the ECF user whose identification and password are being used to

file this document. I hereby attest and represent, in compliance with Civil L.R.11-1(b)(2), that

all other signatories listed above, and on whose behalf the filing is submitted, have concurred in

this filing and have approved its contents.

                                               s/ Michael McShane
                                              Michael McShane




Page 3 - JOINT STIPULATION OF DISMISSAL
